.-.
'
•'::._
  ...:-

/'                                                                                      FILED
          WMG                                                                      MAY .0 5 ·2020
                             . UNITED STATES DISTRICT COURT     ,JJt\"fF lJ~~io~iK
                        FOR THE EASTERN DISTRICT OF. NORTH CAROLIN~---.:~_oEPCU<
                                     WESTERN DIVISION

                                         . No.·   5 :20-Cl-2.1 £-1Be ( ~J

           UNITED STATES OF AMERICA                      )
                                                         )
                         V.                              )              INDICTMENT ·.
                                                         )
           BRENDA JOYCE HALL                             )



                The Grand Jury charges the following:

                                             I.   INTRODUCTION

                                        A.        Federal Student Aid

                At all times relevant to this Indictment: ·

                1.      The Department of Education ("ED"), an agency of the United States

          Government, provided oversight and administration of federal funds provided to

          students under the authority of Title IV of the Higher Education Act of 1965, as

          amended. Funds disbursed under Title IV included the Federal Pell Grant Program· ·

          and the Federal Direct Student Loan Program.

                2.      The Pell Grant Program ("Pell Grant") provided grants to eligible

          students in need of financial assistance to pursue post-secondary education at

          participating institutions.    Pell Grants were made using ED funds and were

          provided to students for educational purposes. They did not have to be repaid by the

                                                        1




                     Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 1 of 19
student recipient. Pell Grants were awarded to students who had not yet earned a

bachelor's or professional degree.

        3.      Under the Federal Direct Student Loan Program ("FDSLP"), the federal

government borrowed funds from the United States Treasury and disbursed the loan

directly to the student at his or her school. The student repaid the loan directly to

the federal government. Direct Subsidized Stafford Loans were awarded to students

who demonstrated financial need. Because ED subsidized interest, borrowers were

not charged interest while enrolled in school at least halftime or during grace and
                      .                                       .




deferment periods. Direct Unsubsidized Stafford Loans were awarded to students

regardless of financial need. Borrowers were responsible for paying the interest that

accrued during any .period. For a student to be eligible for a student loan under

FDSLP, the student must have received a high school diploma or its equivalent.

        4.      Federal Title IV monies, whether in the form of Pell Grants, or in the

form of FDSLP, are referred to collectively in this Indictment as "Federal Student

Aid."

        5.      To be eligible to receive Federal Student Aid, federal regulations

required the student _to complete a Free Application for · Federal Student Aid

("FAFSA'') that is submitted to ED's Central Processing System ("CPS") in

Clarksville, Virginia.     The CPS calculated the FAFSA application information

submitted by the student using the appropriate Federal Methodology to produce the

Expected Family Contribution ("EFC'') arid also performed data matching with


                                            2




             Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 2 of 19
· various other federal agencies to confirm eligibility requirements. The CPS would

 electronically issue an Institutional Student Information Record ("ISIR'') to post-

 secondary institutions designated by the student on the F AFSA.       The ED and the

· post-secondary institutions relied upon the information that the student provided on

 the FAFSA to determine whether the student was eligible to receive student financial

 aid and the amount of any student loan or grant. ·The FAFSA required student

 applicants to certify they would use the Federal Student Aid only to pay the cost of

 attending a post-secondary institution and notified them that purposely giving false

 or misleading information on the FAFSA may .subject the student to criminal

 penalties, including payment of a fine, imprisonment, or both.

       6. ·    Federal Student Aid had to be used for an educational purpose.

 Specifically, the Federal Student Aid could be used to satisfy tuition and fees charged

 by the institution, as well as other expenses incurred by the student to pursue an

 education program, such as books, supplies, transportation, and living expenses.

       7.      To ensure that the Federal Student Aid was used for educational

 purposes, the funds were sent from ED, or the lender, directly to the institutions

 where the students were enrolled.       The institutions applied those funds to a

 student's account to cover the student's tuition, fees, and other educationally related

 charges incurred by the student at the institution. When the total amount of Title

. IV Aid· credited to the student's account exceeded the total amount of authorized

 charges, then the · inst1tutions would disburse the remaimng credit balance,


                                           3




            Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 3 of 19
sometimes referred to as a "refund check," to the student for use on other educational

expenses.    A refund check as described in this paragraph is referred to in this

Indictment as a "Credit Balance Refund."

                                 B.       Background

      8.     · Wake Technical Community College ("Wake Tech") was a public

community college located in Raleigp., North Carolina.      Wake Tech was a post~

secondary educational institution that regularly received Federal Student Aid on

behalf of its students. In addition to its numerous physical campuses, Wake Tech

offered online instruction to students.

       9.      "The Ranch" consisted of a group of adults and children residing in a

collection of buildings located in Godwin, Cumberland County, North Carolina.

Although The Ranch consisted largely of several related families, outsiders and their

children were also invited to, and did, reside on The Ranch over time.

      10.     JM owned and operated The Ranch. JM, who was among other things,

a tent revival preacher, allowed various adults and children to reside on The Ranch.

Various adults and children living on The Ranch assisted McCollum with his tent

preaching activities.   JM also owned several fish markets, located in Hope Mills,

Fayetteville, and Lumberton (coUectively the "Fish Markets"), within the Eastern

District of North Carolina. Adults and children residing on The Ranch also performed

work in the Fish Markets.

      11.     BRENDA JOYCE HALL was an individual who resided on The Ranch


                                            4




           Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 4 of 19
    and worked for JM on The Ranch and at the Fish Markets: HALL also owned and

    operated a non-public home school from The Ranch.

          12.       "Halls of Knowledge" also known as "Halls of Learning" was a non-public

    home school owned and operated by HALL. HALL registered Halls of Knowledge

~   with the North Carolina Division of Non-Public Education no later than July of 2000.

    Halls of Knowledge was closed as a non-public home school on November 17, 2017.

          13.       In communications with the State of North Carolina, HALL referred to

    herself as the Chief Administrator of Halls of Knowledge. HALL further indicated

    · that she operated Halls of Knowledge at 5953 McCollum Lane, Godwin, NC 28344,

    utilizing email address: "Babybhall@hotmail.com."

          14.       While Halls of Knowledge was licensed to perform non-public home

    schooling activities, HALL did not, in fact, provide complete high school level

    education to all minors on The Ranch through her home school. Instead, by middle

    and high school age, most children on The Ranch were directed to engage in work for
                -
    JM, either on The Ranch, at tent revivals, or at the Fish Markets,

                                C.    The Scheme to Defraud

          15.       HALL, JM, and others known to the grand jury, carried out a scheme to

    fraudulently acquire hundreds of thousands of dollars in Federal Student Aid to fund

    the operations of The Ranch and the Fish Markets, and JM's other interests.



          16.       To carry out the scheme, JM, Hall, and others, would approach


                                                5




             Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 5 of 19
individuals residing on The Ranch and solicit their enrollment in an online course of

college-level studies at Wake Tech.      The individuals that JM, HALL, and others

solicited for enrollment at Wake Tech are referred to in this Indictment as the

"Student Participants."

      17..     To attend the online course of college level studies at Wake Tech, the

Student Participants were require,d to have successfully completed their high school

level of education.

      18.      At the time that. JM, HALL, and others solicited the Student

Participants, however, most of the Student Participants had dropped out of high

school and, as such, never graduated and obtained a genuine diploma. Likewise,

none of the Student Participants completed their high school education through

HALL's hoine school, the 'Halls of Knowledge.

      19.     .Moreover, none of the Student Participants had the financial means to

attend college. Instead, to pay the costs of tu1tion, all of the Student Participants

would all require Federal Student Aid.
                                                  j


      20.      Many of the Student Participants had no genuine desire or intention to

attend college courses and graduate from Wake Tech. In any event, having never

graduated from high school, several Student Participants did not have the

educational background to complete college courses.

      21.      JM, HALL, and others provided various assurances to the Student

Participants get them to agree to be enrolled at Wake Tech. For example, various


                                           6




            Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 6 of 19
Student Participants were told: (1) they would receive a high school diploma; (2)

would receive a laptop or would get to keep some money; (3) they would not have to

actually do the ~oursework; or (4) they would not be responsible for the student loans.

       22.   HALL created a fraudulent high school transcript for each of the

Student Participants (hereinafter the "Fake Transcripts").     The Fake Transcripts

represented that each of the Student Participants successfully completed four years

. of high school education through Halls of Knowledge. The Fake Transcripts· also

fraudulently represented, for each year of study, the courses allegedly taken by the

Student Participant, and the grade the Student Participant received in each course.

HALL directed another resident of The Ranch to notarize the Fake Transcripts.

      23.    HALL also ~enerated a fraudulent high school diploma for each of the

.Student Participants. In some instances, HALL or JM provided a copy of the Halls

of Knowledge diploma to the Student Participant.

      24.    To become enrolled at Wake Tech, students were required to provide, in

addition to a copy of their high school diploma and transcript, various other

biographical information.   Students were also required to complete a FAFSA to

enable them to obtain Federal Student Aid.

      25.    HALL assisted the Student Participants to become enrolled at Wake

Tec,h, and to obtain Federal Student Aid at Wake Tech, by fraud.      HALL caused a

copy of the fraudulent Halls of Knowledge diplomas and Fake Transcripts for the

Student Participants to be provided to Wake Tech during the enrollment process.


                                          7




         Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 7 of 19
  HALL also created and caused to be created fraudulent applications for enrollment

  and other documents for the Student Participants.            These documents were

  fraudulent because, among other things, they represented that the Student

 · Participants had completed their four year course of study at, and graduat~d from,

 . Halls of Knowledge.     In furtherance of the ·enrollment, HALL gave the Student

  Participants a packet of documents and directed the Student Participants to take the

  packet to enrollment officials at Wake Tech.      HALL generally did not show the

  Student Participants the Fake Transcripts that were. being provided to Wake Tech.

        26.       Wake Tech and ED received, and, relied upon, the fraudulent documents

  and information supplied to them during the enrollment process.        In addition to

, becoming enrolled in Wake Tech by fraud, Federal Student Aid was also awarded to

  the Student Participants based on the fraud.

        27.       To fund the Wake Tech tuitiop., the ED caused Federal Student Aid to

  be disbursed to Wake Tech. After tuition and related educational costs were paid,

  the remaining Credit Refund Balance, often several thousand dollars each semester

  for each student, was disbursed for the educational · needs of each Student

  Participants.
                                            (
        28.       Student Participants were not, in fact, permitted by JM, Hall, and

  others to receive and retain the entirety of their Credit Refund Balance. Instead,

  the Student Participants were directed in some instances to cash out the Credit

  Refund Balances and to provide the funds to JM. In other instances, the Student


                                                8




           Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 8 of 19
Participants had any Credit Refund Balances transferred into accounts at The Ranch

and the, Fish Markets, which were controlled by HALL and JM.

       29.   HALL, JM, and others used the Credit Refund Balances disbursed for

the educational benefit of the Student PartiGipants, to fund the operations of The

Ranch the Fish Markets, and other ventures.

       30.   After the Student Participants were enrolled at Wake Tech, the

Students did not, in fact, attend all of the courses in which they were enrolled.

Instead HALL, and others at The Ranch, would attend and complete courses on

behalf of the Student Participants. In many instances, the Student Participants

were enrolled in years of courses at Wake Tech, but attended only a small fraction, if

any, of the courses.

       31.   In total, not less than $700,000 in Federal Student Aid was disbursed

for the benefit of the Student Participants, based upon HALL's Fake Transcripts from

,Halls of Knowledge.

                                   COUNT ONE

                                THE CONSPIRACY

       32.   Beginning at a time unknown, but no later than June 23, 2011, and

continuing to a date unknown, but no earlier than in or around January of 2018,

·within the Eastern District of North Carolina and elsewhere, BRENDA JOYCE

HALL and others known to the Grind Jury did knowingly and intentionally conspire,

confederate,· and agree to. commit an offense against the United States, to wit, to


                                          9




         Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 9 of 19
 knowingly and willfully obtain, and assist others to obtain, by fraud and false

 statements, Federal Student Aid disbursed to permit the Student Participants attend

 college courses at Wake Tech, said funds being provided and insured under

 sub chapter IV of Chapter 28 of United States Code Title 20, and part C of subchapter

 I of chapter 34 of United States Code Title 42, in· violation of Title 20, United States

· Code, Section l097(a).

                           PURPOSE OF THE CONSPIRACY

       33.    It was the purpose of the conspiracy for the conspirators to cause the

 Student Participants to become enrolled in Wake Tech, and to obtain Federal Student

 Aid, based upori the Fake Transcripts.

                   MANNER AND MEANS OF THE CONSPIRACY ·

       34.    Introductory Paragraphs 1 through 31 are realleged and incorporated

by reference into this Count.

                                     OVERT ACTS

       35.    During the course of the conspiracy, a member of the conspiracy solicited

 at least one Student Participant to become enrolled at Wake Tech.

       36.    During the course of the conspiracy, HALL created and caused to be

 notarized at least one Fake Transcript.

       37.    During the course of the conspiracy, a member of the conspiracy caused

 at least one Fake Transcript to be provided to enrollment officials at Wake Tech.

       38. During the course of the conspiracy, a member of the conspiracy caused at


                                           10




         Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 10 of 19
              least one false FAFSA to be transmitted to ED and Wake Tech, said F AFSA falsely

              representing that a Student Participant graduated from Halls of Knowledge.

                      All in violation of Title 18, United States Code, Section 371.

                                          COUNTS TWO THROUGH,ELEVEN                    \D       ~

                      39.     Introductory Paragraphs 1 through 31 are realleged and incorp~lted

              by reference into this Count.

                      40.     Between the dates listed in each row of the table below, in the Eastern

              District of North Carolina, the defendant, aiding and abetting others known to the

              grand jury, did knowingly and willfully obtain and attempt to obtain, and assist

              others to obtain, by fraud and false statements, the Federal Student Aid disbursed

          for each Student Participant identified in each row of the table below, to enable said

          student to attend college courses at Wake Tech, said funds being provided and

          insured under subchapter IV of Chapter 28 of United States Code Title 20, and part

              C of subchapter I of chapter 34 of United States Code Title 42:

                                                           ·STUDENT
                    COUNT              DATES                                  Federal Student Aid
                                                          PARTICIPANT
                      2         7/7/2011- 12/31/2017           S.A.                $58,029.00
                      3         8/7/2013 - 12/31/2017         S.M.A.               $29,249.00
                      4        11/26/2012 - 12/31/2017         T.B.                $55,313.00
                      5         1/22/2015 - 12/31/2018         D.E.                $41,326.00
                      6        1/14/2013 - 12/31/2018          S.F.                $80,113.00
                      7         8/1/2012- 12/31/2017           D.J.                $50,038.00
                      8        8/12/2011- 12/31/2016           C.M.                $70,225.00
     ,   .-    ,,    }(f_q     9/10/2012 - 12/31/2017          P.M.                $80,015.00
q(        0          , )1\0
                               1/11/2013 - 12/31/2018          P.O.                $77,790.00

          Each row of the foregoing table constituting a separate violation of Title 20, United

                                                         11




                          Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 11 of 19
 States Code, Section 1097(a) and Title 18, United States Code, Section 2.



                                     The Conspiracy

       41.   Beginning at a time unknown, but no later than July 7, 2011, and

continuing to a date unknown, but no earlier than in or around January of 2018,

within the Eastern District of North Carolina and elsewhere, BRENDA JOYCE

HALL and others known to the Grand Jury did knowingly and intentionally conspire,

confederate, and agree to commit an offense against the United States, to wit, having

devised and attempted to devise a scheme to defraud and to obtain money and

property by means of materially false and fraudulent pretenses, representations and

. promises, to transmit and cause to be transmitted by means of wire, radio, or

television communication in interstate or foreign commerce, any writings, signs,

signals, pictures, or sounds for the purpose of executing such scheme or artifice, in

violation of Title 18, United States Code, Section 1343.

                                Purpose of the Conspiracy

       42.   It was the purpose of the conspiracy for JM, HALL, ana other residents

of The Ranch, to financially benefit from the fraudulent acquisition and receipt of

Credit Balance Refunds.

                  MANNER AND MEANS OF THE CONSPIRACY

       43.   Introductory Paragraphs 1 through 31 are realleged and incorporated

by reference into this Count.


                                           12




         Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 12 of 19
       44.    It was further part of the conspiracy that, in some instances, the Credit

Balance Refund of Student Participant would be deposited into a debit account held

at BankMobile, located in New Haven,-Connecticut.

      · 45.   It was further part of the conspir_acy that JM and HALL operated bank

accounts for the Fish Markets which were capable of receiving Electronic Fund

Transfers from debit accounts that had been credited with Credit Refund Balances.
                                                           i
JM and HALL operated these accounts i!). the Eastern District of North Carolina .

      .46.    It was further part of the conspiracy
                                           r
                                                    that, in some instances, Student

Participants would have Credit Balance Refunds deposited directly into their

accounts by the ED. The conspirators caused these funds to be extracted or

transferred 'for the benefit of JM, HALL, and The Ranch.

                                    OVERT ACTS

      47.     In furtherance of the conspiracy, and to effect the objects thereof, there

were committed in the Eastern District of North Carolina various overt acts,

including, but not limited to the following:

      48..    A member of the conspiracy solicited at least one Student Participant to

become enrolled at Wake Tech.

      49.     HALL created and caused to be notarized at least one Fake Transcript.

      50.     A member_ of the conspiracy caused at least one Fake Transcript to be

provided to enrollment officials at Wake Tech.

      51.     A member of the conspiracy caused at least one false FAFSA to be


                                          13




         Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 13 of 19
transmitted to ED and Wake Tech, said FAFSA falsely representing that a Student

Participant graduated from Halls of Knowledge.

      52. A member of the conspiracy caused funds from at least one Credit Balance

Refund to be transferred to accounts controlled by HALL and JM.

      All in violation of Title 18, United States Code; Section 1349 .
                                . \ ·z_                     1..-5
               COUNTS 1FHIRTEEN THROUGH TWENTY FOUR·

                                          THE SCHEME
                                                       1

      53.    Beginning at a time unknown, but no' later than July 7, 2011, and

continuing to a date unknown, but no earlier than in or around January of 2018,

within the Eastern District of North Carolina arid elsewhere, BRENDA JOYCE

HALL, aiding and abetting others, devised and intended to devise a scheme to

defraud, and to obtain money and property by means of materially false and

fraudulent pretenses, representations and promises.

                                 MANNER AND MEANS

      54.    Introductory Paragraphs 1 through 31 are realleged and incorporated

by reference into this Count.

      55.    It was part of the scheme that, in some instances, the Credit l?alance

Refund of Student Participant would be deposited into a debit account held at

BankMobile, located in New Haven, Connecticut.

      56.    It was further part of the scheme that JM and HALL operated bank

accounts for the Fish
                  .
                      Markets which were capable
                                              .
                                                 of receiving wires and Electronic


                                              14




        Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 14 of 19
    Fund Transfers from debit accounts that had been credited with Credit Refund

    Balances. JM and HALL operated these accounts in the Eastern District of North

    Carolina.

          57.    It was further part of the scheme that, in some instances, Student

    Participants would have Credit Balance Refunds deposited directly into their

    accounts by ~he ED. These funds were extracted or transferred for the benefit of JM,

    HALL, and The Ranch.

                                   USE OF THE WIRES

          58.    On or about each of the dates set forth below, in the Eastern District of

    North Carolina and elsewhere, the defendant, BRENDA JOYCE HALL, for the

    purpose of executing the scheme described above, and atteJI}.pting to do so, caused
             .                                                                     .    to

    be transmitted by means of wire communication in interstate commerce the signals

    and sounds described below for each count:

     COUNT        DATE.                                 WIRE                     '

                              $4,230.11 Wake Tech Credit Balance Refund for S.M.A.
                              transferred from BankMobile in New Haven, CT to
        ~·\t     9/22/2016
                              WoodForest Bank Account ending in *5581 in Fayetteville,
                              NC belonging to.S.M.A.
                              $2,168.25 Credit Balance Refund for D.E. transferred from
                              BankMobile in New Haven, CT to Bank of America
        )Al3     6/22/2015
                              Account "Dba John C's Fish Market, Brenda Hall Sole Prop
                              Bank ,of America" ending in *1303, in Hope Mills, NC
                              $716.50 Wake Tech Credit Balance Refund for D.E.
                              transferred from BankMobile in New Haven, CT to BB&T
~v
        }61'-J   7/23/2015
                              Bank Account "JM Dba John C's Fish Market" ending in
                              *8783, in Godwin, NC
J   V                         $5,434.00 Wake Tech Credit Balance Refund for D.E.
        }Ai5'    9/23/2015
~                             transferred from BankMobile in New Haven, CT to BB&T


                                             15




            Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 15 of 19
                              Bank Account "JM Dba John ,C's Fish Market" ending in
                              *8783, in Godwin, NC
                              $721.50 Wake Tech Credit Balance Refund for D.E.
                              transferred from BankMobile in New Haven, CT to BB&T
   Yl\0         11/12/2015
                              Bank Account "JM Dba John C's Fish Market" ending in
                              *8783, in Godwin, NC
                              $6,119.50 Wake Tech Credit Balance Refund for D.E.
                              transferred from BankMobile in New Haven, CT to BB&T ,
    }in         . 2/18/2016
                              Bank Account "JM Dba John. C's Fish Market" ending in
                              *8783, in Godwin, NC
                              $935.00 Wake Tech Credit Balance Refund for D.E.
                              transferred from BankMobile in New Haven, CT to BB&T
    yef't <"6    7/14/2016
                              Bank Account "JM Dba John C's Fish Market" ending in
                              *8783, in Godwin, NC
                              $7,146.50 Wake Tech Credit Balance Refund for S.F.
                              transferred from BankMobile in New·Haven, CT to BB&T
    ~i°I        10/14/2015
                              Bank Account "JM Dba John C's Fish Market" ending· in
                              *8783, in Godwin, NC
                              $6,796.05 Wake Tech Credit Balance Refund for S.F.
                              transferred from BankMobile in New Haven, CT to BB&T
   ·~1,o         2/18/2016
                              Bank Account. "JM Dba John C's Fish Market" ending in
                              *8783, in Godwin, NC
                              $6,649.50 Wake Tech Credit Balance Refund for P.O.
                              transferred from BankMobile in New Haven, CT to BB&T
    ~21          9/23/2015
                              Bank Account JM Dba John C's Fish Market" ending in
                              *8783, in Godwin, NC
                              $6,422.98 Wake Tech Credit Balance Refund for P.O.
                              transferred from BankMobile in New Haven, CT to BB&T
    'lfd iz      2/18/2016
                              Bank Account "JM Dba John C's Fish Market" ending in
                              *8783, in Godwin, NC
                              $689.85 Wake Tech Credit Balance Refund for P. 0.
                              transferred from BankMobile in New Haven, CT to BB&T
    9'2,3        6/20/2016
                              Bank Account "JM Dba John C's Fish Market" ending in
                              *8783, in Godwin, NC

       Each entry in the foregoing table constituting a separate violation of Title 18,

United States Code, Sections 1343 and 2.




                                           16




           Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 16 of 19
                                 COUNT 'FWENTY FIVE 7-'-\

       59.    Introductory Paragraphs 1 through 31, and 40 through 50 are realleged

 and incorporated by reference into this Count.

       60._   On or about November 10, 2015, 1n the Eastern District of North

 Carolina, the defendan:t, BRENDA JOYCE HALL, aiding and abetting others, did

knowingly transfer, possess, and use, without lawful authority, certain means of
               ,,
identification of other persons, to wit, the name and date ofbirthofR.C., during and

iri relation to a felony violation enumerated in 18 U.S.C. § 1028A(c), to wit,

 Conspiracy to Commit Wire Fraud, in violation of Title 18, United States Code,

Section 1349, knowing that said me;:ins of identification belonged to another actual

person, in violation of Title 18, United States Code, Sections 1028A(a)(l) and 2.

                                  COUNT TWENTY ~IX 2..6""

       61. , IntroductorY: Paragraphs 1 through 31, and 40 through 50 are realleged

and incorporated by reference into this Count.·

       62.    On or about June 21, 2016, in the Eastern District _of North Carolina,

the defendant, BRENDA JOYCE HALL, aiding and abetting others, did knowingly

transfer, possess, and use; without lawful authority, certain means of identification

of other persons, to wit, the name and date of birth of D.W., during and in relation to

a felony violation enumerated in 18 U.S.C. § 1028A(c), to wit, Conspiracy to Commit

· Wire Fraud, in violation of Title 18, United States Code, Section 1349, knowing that

said means of identification belonged to another actual person, in violation of Title


                                          17




         Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 17 of 19
i




    · 18, United States Code, Sections 1028A(a)(l) and 2.

                                    FORFEITURE NOTICE

           The Defendant is hereby given notice that all of the Defendant's interest in all

    property specified herein is subject to forfeiture.

           Upon conviction of the offenses set forth in Counts Twelve through Twenty-

     Four of this Indictment, the Defendant shall forfeit to the United States, pursuant to

    Title 18, United States Code, Section 981(a)(l)(C), as made applicable by 28 United
                                                                                              r

    States Code, Section 2461(c)), any property constituting, or derived from, proceeds

    obtained directly or indirectly as a result of such violation(s).

           The forfeitable property includes, but is not limited to, the gross proceeds of

    the offenses described above actually obtained by the Defendant in the amount of at

    least $200,822.42 in U.S. currency.

           If any of the above-described forfeitable property, as a result of any act or

    omission of the Defendant,

           {l) cannot be located upon the exercise of due diligence;

           (2) has been transferred or sold to, or deposited with, a third person;

           (3) has been placed beyond the jurisdiction of the court;

           (4) has been substantially diminished in value; or

           (5) has been commingled with other property which cannot be subdivided ,

           without difficulty;




                                               18




             Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 18 of 19
. it is the intent of the United States, pursuant to Title 21, United States Code, Section

 853(p), to seek forfeiture of any other property of said Defendant up to the value of

 the above forfeitable: property.

                                          A TRUE BILL




 ROBERT J. HIGDON, JR.
 United States Attorney



                    ~~-. . ,~ORE
                         sAttorney




                                            19




          Case 5:20-cr-00218-BR Document 5 Filed 05/05/20 Page 19 of 19
